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 2
                            UNITED STATES DISTRICT COURT
 3
                          CENTRAL DISTRICT OF CALIFORNIA
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 5                                             Case No. 2:21-cv-08560-SB-PVC
     EDIS RAMIREZ, HOA NGUYEN,
 6   and MUNG NGUYEN, individuals,
     and STATE OF CALIFORNIA ex rel.
 7
     EDIS RAMIREZ, HOA NGUYEN,
 8   and MUNG NGUYEN,                               FINAL JUDGMENT
 9
10                             Plaintiffs,

11   v.
12
     ALLSTATE NORTHBROOK
13   INDEMNITY COMPANY, doing
14   business as “ALLSTATE”, and DOE
     DEFENDANTS 1–50, inclusive,
15
16                             Defendants.

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19         For the reasons set forth in the Court’s Order granting Defendant Allstate

20   Northbrook Indemnity Company’s Motion to Dismiss, it is:

21         ORDERED AND ADJUDGED that Plaintiffs Edis Ramirez, Hoa Nguyen, and

22   Mung Nguyen shall take nothing on their individual claims and claims on behalf of

23   the State of California against Defendant Allstate Northbrook Indemnity Company.

24   Plaintiffs’ claims are DISMISSED with prejudice.

25         This is a Final Judgment.

26
27   Dated: February 3, 2022           _______________________________________
                                            STANLEY BLUMENFELD, JR.
28                                        UNITED STATES DISTRICT JUDGE

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